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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

   MEGAN GARCIA, individually                 Case No.: 6:24-cv-1903-ACC-NWH
   and as the Personal Representa-
   tive of the Estate of S.R.S. III,
             Plaintiff,
        v.
   CHARACTER TECHNOLOGIES,
   INC., NOAM SHAZEER, DANIEL
   DE FRIETAS, GOOGLE LLC,
   and ALPHABET INC.,
             Defendants,


    Motion of Professor Eugene Volokh and Professor Jane Bambauer
                  for Leave to File Amicus Curiae Brief
          in Support of Defendant Character Technologies Inc.

         Under Local Rule 3.01, Professor Eugene Volokh and Professor Jane

   Bambauer seek leave to file an amici curiae brief in support of Defendant Char-

   acter Technologies, Inc.’s Motion requesting that this Court certify the case for

   interlocutory appeal.

         “[D]istrict courts possess the inherent authority to appoint ‘friends of the

   court’ to assist in their proceedings.” In re Bayshore Ford Truck Sales, Inc., 471

   F.3d 1233, 1249 n.34 (11th Cir. 2006) (referring in context to the courts’ au-

   thority to grant motions for “leave . . . to file an amicus curiae brief”). That also
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   extends to amicus briefs related to § 1292(b) motions. See, e.g., Flint River-

   keeper, Inc. v. Southern Mills, Inc., 261 F. Supp. 3d 1345, 1346 & n.1 (M.D. Ga.

   2017) (considering such a brief); Bean Maine Lobster, Inc. v. Monterey Bay

   Aquarium Found., No. 2:23-CV-00129-JAW, 2025 WL 1114801, *1, *4 (D. Me.

   Apr. 15, 2025) (likewise); New York by James v. Citibank, N.A., No. 24-CV-659

   (JPO), 2025 WL 1194377, *1 (S.D.N.Y. Apr. 22, 2025) (likewise).

         “Courts typically grant amicus status where the parties contribute to the

   court’s understanding of the matter in question by proffering timely and useful

   information.” Georgia Aquarium, Inc. v. Pritzker, 135 F. Supp. 3d 1280, 1288

   (N.D. Ga. 2015) (cleaned up); see also Sharpton v. Bd. of Pub. Instruction of

   Indian River Cnty., Fla., No. 64-00721-CV, 2021 WL 5207162, *5 n.1 (S.D. Fla.

   Sept. 16, 2021) (“A court may grant amicus status where the nonparty can

   ‘contribute to the court’s understanding of the matter in question by proffering

   timely and useful information’”) (quoting Georgia Aquarium), report and rec-

   ommendation adopted, No. 64-CV-00721-KMW, 2021 WL 5206243 (S.D. Fla.

   Nov. 9, 2021). That is especially likely to happen when the prospective amici

   are “organizations [or] individuals with extensive experience” in the relevant

   field, id. at 1289, as the proposed amici are:

   • Professor Jane Bambauer is a Professor of Law and Brechner Eminent

      Scholar Chair at the University of Florida Levin College of Law and at the

      College of Journalism and Communications. She teaches First Amendment,


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      AI and the Law, Tort Law, and Privacy Law, and currently serves on the

      National AI Advisory Committee Subcommittee on Law Enforcement. 1 Pro-

      fessor Bambauer’s work analyzes how the regulation of these new infor-

      mation technologies will affect free speech, privacy, law enforcement, health

      and safety, competitive markets, and government accountability. See, e.g.,

      Jane R. Bambauer, Negligent AI Speech: Some Thoughts About Duty, 3 J.

      FREE SPEECH L. 343 (2023).

   • Professor Eugene Volokh is the Gary T. Schwartz Distinguished Professor

      of Law Emeritus at UCLA School of Law, and the Thomas M. Siebel Senior

      Fellow at the Hoover Institution at Stanford University. He often writes

      about legal issues central to this case, including First Amendment protec-

      tion for AI output. See, e.g., Eugene Volokh, Mark A. Lemley & Peter Hen-

      derson, Freedom of Speech and AI Output, 3 J. FREE SPEECH L. 651 (2023);

      Eugene Volokh, Large Libel Models? Liability for AI Output, 3 J. FREE

      SPEECH L. 489 (2023).

   Indeed, District Courts have in particular often accepted amicus briefs from

   law professors. See, e.g., Federal Energy Reg. Comm’n v. Powhatan Energy

   Fund, LLC, No. 3:15-cv-452, 2017 WL 11682615, *2 (E.D. Va. Mar. 15, 2017)




   1 See National Artificial Intelligence Advisory Committee, Law Enforcement Subcommittee,

   Year 1 Report & Roadmap (Feb. 2024), https://ai.gov/wp-content/images/NAIAC-LE-Subcom-
   mittee-Year1-Report-Roadmap.pdf.


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   (accepting an amicus brief from amici who “clearly have a special interest in

   the subject matter of this suit” as “law professors who regularly write” in the

   field); Gov’t Emps. Health Ass’n v. Actelion Pharms. Ltd., No. CV GLR-18-3560,

   2024 WL 4123511, *1 n.1 (D. Md. Sept. 6, 2024) (accepting an amicus brief from

   amicus professors, including law professors, concluding that it was “relevant

   and helpful”); United States v. Hernandez-Carrillo, No. 2:08-cr-55-2, 2022 WL

   633568, *4 (S.D. Ohio Mar. 4, 2022) (noting and discussing an amicus letter

   submitted by a law professor who was an expert on the relevant field); Nat’l

   Ass’n of Manufacturers v. United States Dep’t of Homeland Sec., 491 F. Supp.

   3d 549, 555 n.1 (N.D. Cal. 2020) (considering an amicus brief from, among oth-

   ers, immigration law professors).

         Proposed amici believe that the proposed brief, see attached Exh. A, adds

   to the analysis in Plaintiff’s brief in ways that may be helpful to this Court,

   and thus seek the leave to file the proposed brief.

                         Local Rule 3.01(g) Certification

         Proposed amici certify they have conferred with counsel for all Parties

   in a good faith effort to resolve the issues raised in this Motion. Amici received

   consent from Defendants, and on June 16, 2025, sought the consent of Plaintiff,

   via email, who responded that she opposes the relief sought herein.

         Counsel for the proposed amici certify that (1) no counsel for a Party

   authored the attached brief in whole or in part; (2) no Party, counsel to any


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   Party, or any person other than the amici contributed money to fund

   preparation or submission of the attached brief; (3) none of the proposed amici

   have a parent corporation; and (4) no publicly-held entity owns ten percent

   (10%) or more of any Proposed Amicus Curiae organization.

   Respectfully submitted on this 18th day of June 2025,

                                                SHULLMAN FUGATE PLLC

                                                /s/ Rachel E. Fugate
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                                                Counsel for the Proposed Amici

                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 18, 2025, I electronically filed the

   foregoing with the Clerk of the Court by using the CM/ECF system, which

   will send a notice of electronic filing to all counsel of record.

                                                /s/ Rachel E. Fugate
                                                Rachel E. Fugate




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